          Case 2:17-cv-12668-JMV-CLW Document 37 Filed 12/07/18 Page 1 of 2 PageID: 396




                                      UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY

           JOHN SMITH and RICHARD
           BECKER,

                                 Plaintiffs,        Case No.: 2:17-cv-12668-JMV-CLW

                              -against-

           AETNA, INC., AETNA HEALTH
           INC., AETNA SPECIALTY
           PHARMACY, LLC, ABC
           CORPORATIONS 1-10, XYZ
           INDIVIDUALS 1-10 and JOHN DOE
           VENDOR,

                                 Defendants.


                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

                   Plaintiffs John Smith and Richard Becker and Defendants Aetna Inc., Aetna

           Health Inc., and Aetna Specialty Pharmacy, LLC, through their undersigned

           counsel, in accordance with Fed. R. Civ. P. 41(a)(1)(A)(ii), stipulate and agree to

           dismiss the above-captioned action, including all claims asserted therein, with

           prejudice. Each party shall bear its own costs and attorneys’ fees.




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BE:10076329.1/SAN217-273355
          Case 2:17-cv-12668-JMV-CLW Document 37 Filed 12/07/18 Page 2 of 2 PageID: 397




                    SO STIPULATED this __ day of December 2018.


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